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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION



                                               Case No. 3:20-mn-02972-JMC
IN RE: BLACKBAUD, INC.,
CUSTOMER DATA SECURITY                         MDL No. 2972
BREACH LITIGATION
                                               DEFENSE CO-LEAD COUNSEL
                                               PROPOSAL



          Defendant Blackbaud, Inc. (“Blackbaud”) hereby submits this Defense Co-Lead Counsel

Proposal pursuant to paragraph 4 of Case Management Order No. 2 [D.E. # 14] to provide the

Court with a proposal of the team of lawyers who will serve as Lead Counsel for Defendants.1 In

support thereof, Blackbaud hereby states as follows:

          1.    Defendant Blackbaud is being represented in this matter by the law firms of

Troutman Pepper Hamilton Sanders LLP (“Troutman”), Burr Foreman McNair (“BFM”) and

Duffy & Young LLC (“Duffy”). Troutman has more than 1,100 attorneys across 23 offices

throughout the United States. Troutman also is one of 64 law firms that have earned the Mansfield

Certification from Diversity Lab by, among other things, having 30 percent of the leadership roles

occupied by woman, attorneys of color and LGBTQ+ attorneys and committing to the hiring of

diverse attorneys and their involvement in marketing and new engagements. Consistent with its

commitment to diversity, Troutman has formed a diverse and experienced legal team for this

matter.




1
 At the present time, Blackbaud is the only defendant in this matter. However, motions to vacate
Conditional Transfer Order 1 (CTO-1), were filed by certain defendants in the matters captioned
as, Cohen v. Blackbaud, Inc., 2:20-cv-01388 (W.D. Wash.) and Peterson v. Allina Health
Systems, No. 27-cv-20-13221 (Dist. of Minn.). Depending on the JPML’s ruling on these
motions, three additional defendants could be added to this case.
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       2.       BFM is a law firm with over 360 attorneys and 19 offices located throughout the

Southeastern United States, including offices in Columbia, Greenville and Hilton Head, South

Carolina. Duffy is a law firm located in Charleston, South Carolina, which has served the role of

local counsel in various multidistrict litigation matters venued in the District of South Carolina.

       3.       The credentials for the team of class action litigators, data privacy and security

practitioners, government regulatory and compliance attorneys and members of the South Carolina

bar that Blackbaud proposes to defend it in this matter are highlighted below.

       4.       Ronald I. Raether, Jr. is a partner in Troutman’s Orange County, California office

and a member of the firm’s Consumer Financial Services Practice Group. Mr. Raether also

serves as the Chair of Troutman’s Cybersecurity, Information Governance and Privacy Team.

Mr. Raether has assisted companies in navigating federal and state privacy laws for over twenty-

five years. His understanding of technology led him to be involved in legal issues that cross

normal law firm boundaries, including experience with data security, data privacy, patent,

antitrust, licensing and contracts. His involvement in seminal data compliance and data use

cases has helped define current standards in several areas of the law. He assisted one of the first

companies required to provide notice of a data breach and has since successfully defended

companies in more than 200 class actions, including:

            •   Defending a publicly traded subscription platform in one of the nation’s first on-
                line data breach class actions asserting claims for violation of the Fair Credit
                Reporting Act and California Consumer Credit Reporting Agencies Act.

            •   Defending a cosmetic manufacturer in a class action asserting claims for
                violations of various state consumer protection laws, tort violations and breach of
                contract arising out of an alleged data incident with a potential class exceeding
                100,000 individuals.

            •   Defending a payment processor in two consolidated putative class action lawsuits
                asserting claims for negligence, breach of contract, unjust enrichment and
                violations of state Unfair Competition Law and Data Breach Laws in California
                and New Jersey.

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            •   Defending a publicly traded subscription platform in a nationwide class action
                that included every adult in the United States alleging violations of the Fair Credit
                Reporting Act and achieving a comprehensive class settlement under Rule
                23(b)(2).

            •   Defending a publicly traded subscription platform in thirteen separate nationwide
                or state centric putative class actions asserting claims for violations of the
                Driver’s Privacy Protection Act (DPPA).

            •   Defending a Software-as-a-Service solution in one the first putative class actions
                asserting violation of the California Consumer Privacy Act and various other
                privacy-based claims involving the collection and use of consumers’ personal
                information at the point of sale for 15 major United States retailers.

Mr. Raether has been recognized in Best Lawyers in America in Commercial Litigation (2013-

2020), Lexology Legal Influencer Q2 2020, for Telecommunications, Media and Technology,

and Ohio Super Lawyers (2010-13 and 15). Mr. Raether regularly speaks nationally and

publishes frequently on cutting-edge compliance developments, including before information

security professionals at RSA, ISSA, ISACA, ISMG, ASIS, NetDiligence, IAPP and other

related organizations. A copy of Mr. Raether’s biography is attached as Exhibit A.

       5.       Ashley L. Taylor, Jr. is a partner in Troutman’s Richmond, Virginia office. Mr.

Taylor focuses his practice on consumer financial services matters and government regulatory and

enforcement matters. Mr. Taylor was involved in one of the first data breach class actions in the

United States representing a data aggregator with regard to a high profile security breach. Mr.

Taylor also represented a publicly traded retailer in one of the largest data breach incidents in the

United States. Mr. Taylor has been recognized by Best Lawyers in America (2013-2021) and

Chambers USA (2015-2020) for his work on commercial litigation and government regulation. He

also was recognized by Savoy Magazine’s list of “Most Influential Black Lawyers” (2018) and the

National Law Journal’s list of “50 Most Influential Minority Lawyers in America” (2008). Mr.

Taylor also founded and currently co-chairs, together with the Oregon Attorney General, the

American Bar Association committee on state Attorneys General matters. He previously served

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as a Commissioner on the United States Commission on Civil Rights, appointed by President Bush

from 2004-2010. A copy of Mr. Taylor’s biography is attached as Exhibit B.


       6.       David N. Anthony is a partner in Troutman’s Richmond, Virginia office and a

member of the Firm’s Consumer Financial Services Practice Group. He defends highly regulated

consumer financial companies in class actions and complex commercial disputes across the

country.    Mr. Anthony has served as lead defense counsel in more than 100 class actions and

1,500+ individual lawsuits involving claims made by consumers. He regularly represents auto

lenders, background screening companies, banks, credit furnishers, credit repair companies, credit

reporting agencies, data companies, debt buyers and collectors, mortgage lenders and servicers,

online lenders, payment processors and student lenders in federal and state consumer protection

and privacy litigation, regulatory and compliance matters. Mr. Anthony recently represented a

Tribal online lender and debt buyer in MDL and related proceedings. Mr. Anthony has been

recognized by Benchmark Litigation (2008-21), Best Lawyers in America (2019-21), and

Chambers USA (2011-2020) for his work in consumer, commercial and business litigation. A

copy of Mr. Anthony’s biography is attached as Exhibit C.

       7.       Tambry L. Bradford is a partner in Troutman’s Los Angeles, California office and

a member of the firm’s Business Litigation Practice Group. Ms. Bradford’s practice encompasses

a wide range of complex commercial litigation disputes involving claims of fraud, unfair

competition, due process violations, contract disputes, products liability and class actions. Some

of Ms. Bradford’s representative engagements include:

            •   Serving as national defense counsel for a medical device manufacturer in product
                liability action involving a surgical device used to treat obesity.
            •   Defending a food product manufacturer in two class actions involving claims of
                false advertising under California’s Consumers Legal Remedies Act; cases
                dismissed with prejudice on motion to dismiss due to lack of federal subject
                matter jurisdiction.

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            •   Defending multiple insurance companies in a nationwide class action involving
                claims of negligence and violation of the California Confidentiality of Medical
                Information Act.

            •   Defending a large hospital and health plan in an action challenging the
                constitutionality of California’s peer review system.

Ms. Bradford has been selected for inclusion in the Southern California Rising Stars list and was

named to the Los Angeles Business Journal’s “Most Influential Minority Lawyers” list for 2016.

A copy of Ms. Bradford’s biography is attached as Exhibit D.

       8.       Angelo A. Stio III is a partner in Troutman’s Princeton, New Jersey office. Mr.

Stio’s practice focuses on class actions and data privacy and security matters. Some of Mr. Stio’s

representative privacy engagements include:

            •   Serving as lead counsel for thirteen insurance companies in a nationwide class
                action alleging negligence and violations of California’s Confidential Medical
                Information Act.

            •   Defending a publicly traded health care provider in a class action asserting claims
                for negligence and violations of state data breach notice statutes.

            •   Defending an energy company against claims arising from a breach of security of
                an electronic stock trading platform

            •   Defending a national bank against claims arising from inadequate security
                measures associated with medallion signature guarantee programs.

            •   Defending a state-chartered bank against claims challenging security measures for
                confirming identity of account holder.

            •   Representing a university on a security incident involving unauthorized access to
                student financial aid and medical records.

            •   Defending a mortgage loan servicer against claims involving the alleged
                misappropriation of customer data.

Mr. Stio also is an adjunct professor at Rider University where he teaches a course on Cyber Ethics.

He has been included in New Jersey’s Super Lawyers list (2010-17) and recognized by Benchmark

litigation (2019-20). A copy of Mr. Stio’s biography is attached as Exhibit E.


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          9.        Amy Pritchard Williams is a partner in Troutman’s Charlotte, North Carolina

office.        Ms. Williams focuses her practice on consumer financial services, government

enforcement and bankruptcy. She has more than 25 years of experience representing an array of

lenders and other companies in complex commercial litigation, False Claims Act and qui tam

cases, consumer class actions and related matters. Some of Ms. Williams’ representative matters

include:

                •   Defending a national bank in multiple class actions relating to CARES Act
                    mortgage loan forbearances.

                •   Defending a large mortgage servicer in class actions asserting state UDAP and
                    common law claims arising out of allegedly improper default servicing practices.

                •   Serving as national coordinating class counsel for a large mortgage loan servicer in
                    connection with multiple class actions alleging improper document signing and
                    foreclosure practices.

                •   Representing national banks and other companies in state and federal False Claims
                    Act investigations and qui tam actions.

A copy of Ms. Williams biography is attached as Exhibit F.

          10.       Cindy Hanson is a partner in Troutman’s Atlanta, Georgia office and a member of

the firm’s Consumer Financial Services Practice Group. Ms. Hanson focuses her practice on class

action defense. She has significant experience representing companies in class actions asserting

claims for violations of the Fair Credit Reporting Act, consumer protection statutes and state

common laws. Some of Ms. Hanson’s representative engagements include:

                •   Representing a national credit reporting agency in a class action and obtained a
                    decision by the Fifth Circuit to reverse class certification involving approximately
                    10 million consumers.

                •   Representing a national credit reporting agency in a putative class action involving
                    alleged violations of the FCRA with respect to the issuance of credit reports for
                    insurance purposes.




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             •   Representing a national credit reporting agency in claims against a mortgage broker
                 which alleged that a subsidiary of the client misappropriated trade secrets belonging
                 to it and other mortgage brokers.

             •   Representing a national credit reporting agency where plaintiffs sought certification
                 of a nationwide class consisting of consumers holding a major credit card, alleging
                 that the client and other credit reporting agencies violated the FCRA by allegedly
                 substituting consumers’ “high balance” for their “credit limits” when reporting
                 consumers’ accounts.

             •   Representing a criminal background checks company in a putative class action
                 alleging that the client violated multiple sections of the FCRA.

A copy of Ms. Hanson’s biography is attached as Exhibit G.

       11.       Josh Davey is a partner in Troutman’s Charlotte, North Carolina office and a

member of the firm’s Business Litigation Practice Group. Mr. Davey is a former clerk for The

Honorable Dennis W. Shedd of United States Court of Appeals for the Fourth Circuit. Mr. Davey

currently represents banks, mortgage companies, auto and credit card lenders and other financial

industry clients in sophisticated business disputes and consumer class actions. Mr. Davey’s

representative matters include:

             •   Defending a national bank in multiple class actions relating to CARES Act
                 mortgage loan forbearances.

             •   Defending a national bank in multidistrict class action litigation relating to forced-
                 placed automobile insurance.

             •   Defending a national bank in class action relating to automobile guaranteed asset
                 protection refunds.

             •   Defending a national bank in class action alleging improper overdraft fee
                 disclosures and practices in violation of Electronic Funds Transfer Act.

             •   Defending a national telecommunications provider in putative class action relating
                 to early termination fees.

He has been recognized for inclusion in the North Carolina Super Lawyers list (2013-2017). A

copy of Mr. Davey’s biography is attached as Exhibit H.



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       12.       Timothy St. George is a partner in Troutman’s Richmond, Virginia office and a

member of the Firm’s Consumer Financial Services Practice Group. Mr. St. George defends

companies in highly regulated industries in class actions and complex commercial disputes. Some

of Mr. St. George’s representative engagements include:

             •   Counsel for Fortune 100, federally-chartered bank in MDL proceeding
                 aggregating more than 70 class actions arising out of prominent data breach.

             •   Lead counsel for national trust of pooled student loans in series of putative class
                 actions nationwide challenging debt collection litigation.

             •   Lead counsel for multiple data brokers and wholesalers of public record
                 information in putative class actions in multiple states attempting to apply the
                 FCRA to their business models.

             •   Lead counsel for nation’s largest provider of motor vehicle records in putative
                 nationwide FCRA class actions challenging record accuracy.

Mr. St. George has been listed on the 40 & Under Hot List, Benchmark Litigation (2018, 2019,

2020), Law 360 Rising Star (National) (2018), Virginal Super Lawyers (2013-2020). A copy of

Mr. St. George’s biography is attached as Exhibit I.

       13.       Celeste T. Jones is a partner in Burr Forman’s Columbia, South Carolina office.

Ms. Jones has practiced law for more than thirty years. Her practice focuses on business litigation,

healthcare matters, commercial disputes, and defending companies in class actions. Ms. Jones has

been ranked among the country’s top lawyers by Chambers USA, Best Lawyers in America and

South Carolina Super Lawyers in the areas of Commercial Litigation, Criminal Defense: White

Collar, Health Care Law and Litigation – Antitrust. A copy of Ms. Jones’ biography is attached

as Exhibit J.

       14.       Rutledge Young III is a partner with the law firm of Duffy & Young LLC in

Charleston, South Carolina. Mr. Young focuses his practice on complex commercial disputes. He

also has served as counsel in a number of multidistrict litigation matters and in data breach actions,

including: In Re: Aqueous Film-Forming Foams Products Liability Litigation, In Re: South
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Carolina Opioid Litigation, and Kersey v. Georgetown Hospital. A copy of Mr. Young’s

biography is attached as Exhibit K.

       Blackbaud is confident that the team of attorneys representing it from Troutman, BFM and

Duffy have the experience, area expertise and skill set to efficiently manage these matters.

                                               Respectfully,

 Dated: February 5, 2021                        s/ Celeste Jones
                                               Celeste T. Jones
                                               Federal ID # 2225
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